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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 07-cv-02483-LTB-KLM

   OMAR REZAQ,

          Plaintiff,

   v.

   FEDERAL BUREAU OF PRISONS,
   ERIC H. HOLDER,
   MICHAEL NALLEY,
   RON WILEY, in their official capacities,

          Defendants.


                                                 ORDER


          THIS MATTER comes before the Court on the parties' Joint Motion to Compel Production

   of Presentence Investigation Report. (Doc. ___.)

          Sufficient cause appearing, IT IS HEREBY ORDERED THAT the motion is

   GRANTED. Defendant the Federal Bureau of Prisons shall produce the Plaintiff’s Presentence

   Report subject to the Protective Order entered in this case (Doc. 77).

          Dated this ____ day of March, 2009.



                                                  BY THE COURT:



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